       Case 4:21-mc-80181-JST Document 1 Filed 07/30/21 Page 1 of 5



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 9
                                 UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11
                                      SAN FRANCISCO DIVISION
12

13
     JONES DAY,                                 Case No.
14
                           Petitioner,          PETITION TO COMPEL COMPLIANCE
15                                              WITH ARBITRATION SUMMONSES
            v.
16
     ORRICK HERRINGTON & SUTCLIFFE,             Petition filed: July 30, 2021
17   LLP, MICHAEL TORPEY, AND
     MITCHELL ZUKLIE,
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                       Respondents.
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                                                                                Petition to Compel
                                                                                Case No. _______
        Case 4:21-mc-80181-JST Document 1 Filed 07/30/21 Page 2 of 5



 1           Petitioner Jones Day files this Petition to Enforce Arbitration Summonses served on
 2   Respondents Orrick, Herrington & Sutcliffe LLP, Michael Torpey, and Mitchell Zulkie, and in
 3   support thereof states: 1
 4                                                PARTIES
 5           1.      Jones Day is a general partnership engaged in the profession and practice of law,
 6   organized and existing under the laws of the State of Ohio with a place of business in the District
 7   of Columbia, located at 51 Louisiana Avenue, N.W., Washington, D.C. 20001.
 8           2.      Respondent Orrick, Herrington & Sutcliffe LLP (“Orrick”), is a limited liability
 9   partnership engaged in the profession and practice of law, organized and existing under the laws
10   of the State of California with its principal place of business at 405 Howard Street, San Francisco,
11   California.
12           3.      Respondent Mr. Zuklie is Orrick’s Chairman and a California resident, whose
13   principal place of business is also 405 Howard Street, San Francisco, California. Mr. Zuklie
14   resides within California.
15           4.      Respondent Mr. Torpey is Orrick’s Special Assistant to the Chairman and former
16   Managing Partner and a resident of California, whose principal place business is Orrick’s offices
17   at 1000 Marsh Road, Menlo Park, California. Mr. Torpey resides within California.
18                                            JURISDICTION
19           5.      This Court has subject matter jurisdiction over this action under 9 U.S.C. §§ 7 and
20   203 because the Summonses arise out of an international arbitration that falls within the
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22              Jones Day believes that the proper procedural vehicle for seeking to compel compliance
     with an arbitration summons (or a judicial summons issued in connection with a case in another
23   district) is to initiate a miscellaneous case in this district by filing a motion to compel.
     Contemporaneously with this petition, Jones Day is filing such a motion to compel. Jones Day
24
     does not believe it is necessary to file a petition or complaint. Jones Day is filing this petition
25   only because Respondents have asserted to Jones Day that a petition is necessary and their
     counsel has refused to accept service on behalf of Respondents unless Jones Day proceeds by way
26   of a petition. By filing this petition, Jones Day does not agree that the petition is necessary. Nor
     does it agree that the filing of this petition should result in any different procedure for briefing or
27   ruling on the motion to compel. Jones Day requests that the Court consider Jones Day’s motion
28   on the schedule set out in Jones Day’s Motion to Shorten Time, which Jones Day is also filing
     contemporaneously.
                                                                                           Petition to Compel
                                                                                           Case No. _______
                                                      -1-
        Case 4:21-mc-80181-JST Document 1 Filed 07/30/21 Page 3 of 5



 1   Convention on the Recognition and Enforcement of Foreign Arbitral Awards of June 10, 1958
 2   (the “Convention”), as incorporated in Chapter 2 of the Federal Arbitration Act (“FAA”).
 3   9 U.S.C. § 201 et seq. Section 203 provides that “an action or proceeding falling under the
 4   Convention shall be deemed to arise under the laws and treaties of the United States. The district
 5   courts of the United States . . . shall have original jurisdiction over such an action or proceeding,
 6   regardless of the amount in controversy.” 9 U.S.C. § 203. Chapter 2 of the FAA incorporates the
 7   provisions of Chapter 1 of the FAA, so long as those provisions are not in conflict with the New
 8   York Convention. 9 U.S.C. § 208. Chapter 1 of the FAA includes 9 U.S.C. § 7, which empowers
 9   arbitrators to summon witnesses to appear at a hearing before them and authorizes federal district
10   courts in the district in which the arbitrator is sitting to compel compliance. Section 206 of the
11   FAA also empowers courts under Chapter 2 to “direct that arbitration be held in accordance with
12   the agreement.” 9 U.S.C. § 206.
13          6.      Respondents are subject to personal jurisdiction in this Court because Orrick is
14   organized under the laws of California and has its principal place of business here, and
15   Mr. Torpey and Mr. Zuklie are residents of California.
16                                                 VENUE
17          7.      Venue is proper in this Court under 28 U.S.C. § 1391 because all of the defendants
18   reside in California and at least one of them resides within this judicial district and because a
19   substantial part of the acts or omissions giving rise to this action occurred here.
20                                          MATERIAL FACTS
21          8.      Jones Day is the claimant in an ongoing international arbitration. The arbitration
22   agreement under which the arbitration is occurring provides that the Federal Arbitration Act
23   governs the arbitration and that the arbitration is to be conducted in accordance with the then-
24   current JAMS Comprehensive Arbitration Rules and Procedures (the “JAMS Rules”).
25          9.      In July 2020, JAMS appointed as arbitrator the Honorable Benson Everett Legg, a
26   retired federal district court judge (the “Arbitrator”). The Arbitration is scheduled for a final
27   hearing on the merits beginning September 20, 2021.
28          10.     To obtain information material to its arbitration claims, Jones Day requested, and
                                                                                           Petition to Compel
                                                                                           Case No. _______
                                                      -2-
        Case 4:21-mc-80181-JST Document 1 Filed 07/30/21 Page 4 of 5



 1   the Arbitrator issued, summonses to Respondents requiring them to appear as witnesses before
 2   the Arbitrator at a hearing at the JAMS facility in San Jose, California on July 26, 2021, and to
 3   bring with them specified documents (the “Summonses”). The Arbitrator was authorized to issue
 4   the summonses by the FAA and by JAMS Rule 21. See 9 U.S.C. § 7 (“The arbitrators selected
 5   either as prescribed in this title or otherwise, or a majority of them, may summon in writing any
 6   person to attend before them or any of them as a witness and in a proper case to bring with him or
 7   them any book, record, document, or paper which may be deemed material as evidence in the
 8   case.”); JAMS Rule 21 (arbitrator may “issue subpoenas for the attendance of witnesses or the
 9   production of documents either prior to or at the Hearing pursuant to this Rule or Rule 19(c)”).
10           11.     The Summonses were validly served on each of the Respondents.
11           12.     Respondents notified Jones Day in writing on July 15, 2021, that they would not
12   comply with the Summonses. None of the Respondents contended that they were unable to
13   appear at the July 26 hearing or to bring with them the required documents. They asserted only
14   that they did not view the Summonses as authorized under the FAA and that they therefore would
15   not comply with them.
16           13.     In a Scheduling Order dated July 19, 2021, at Jones Day’s request, the Arbitrator
17   stated that he could be present within this District to hold a hearing to take Respondents’
18   testimony on September 13, 2021 and that he would issue summonses for Respondents to appear
19   on that date at Jones Day’s request. On July 30, 2021, Jones Day requested the issuance of such
20   summonses.
21           14.     On July 30, 2021, counsel for Respondents informed Jones Day that, because
22   Respondents consider the Summonses to be defective under the FAA, Respondents will not
23   appear for a hearing on September 13.
24                                             CLAIM FOR RELIEF
25           15.     The Summonses were lawfully issued under the FAA, 9 U.S.C. § 7 and 208, and in
26   accordance with the arbitration agreement, including its adoption of the JAMS Rules.
27           16.     Respondents’ neglect or refusal to obey the Summonses is contrary to law and
28   without legal or factual justification.
                                                                                          Petition to Compel
                                                                                          Case No. _______
                                                     -3-
        Case 4:21-mc-80181-JST Document 1 Filed 07/30/21 Page 5 of 5



 1          17.     The FAA authorizes this Court to compel Respondents to comply with the
 2   Summonses. 9 U.S.C. § 7 (“the United States district court for the district in which such
 3   arbitrators, or a majority of them, are sitting may compel the attendance of such person or persons
 4   before said arbitrator or arbitrators, or punish said person or persons for contempt in the same
 5   manner provided by law for securing the attendance of witnesses or their punishment for neglect
 6   or refusal to attend in the courts of the United States”).
 7          WHEREFORE, Jones Day respectfully requests that this Court:
 8          (i) Order the Respondents to comply with the Summonses;
 9          (ii) Order that this case remain open so that Jones Day can pursue any further relief
10   against the Respondents related to service and enforcement of the Summonses;
11          (iii) Award Jones Day its costs and attorney’s fees incurred in this action; and
12          (iv) Award Jones Day any and all other relief as this Court deems just and proper.
13    Dated: July 30, 2021                                Respectfully submitted,
14                                                        /s/ David C. Kiernan
                                                           David C. Kiernan
15                                                         JONES DAY
16                                                          Attorneys for JONES DAY
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                                                                                          Petition to Compel
                                                                                          Case No. _______
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